                                                                               cMsg = app.response(cAsk);
                                                                    event.value
     Case 2:22-cv-00184-LCB-CWB Document 69-3 Filed 05/02/22 Page 1 of 34       = cMsg;
                                                                                      DEFENDANT'S
                                                                                        EXHIBIT

                                                                                          3
                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER,                   )
      et al.,                                )
                                             )
       Plaintiffs,                           )
                                             )
v.                                           )   No. 2:22-cv-00184-LCB-SRW
                                             )
KAY IVEY, in her official capacity           )
as Governor of the State of Alabama,         )
     et al.,                                 )
                                             )
       Defendants.                           )

                       DECLARATION OF MICHAEL K. LAIDLAW, M.D.

       My name is Michael K. Laidlaw. I am over the age of 19, I am qualified to give this

declaration, and, I have personal knowledge of the matters set forth herein.

I am a physician with specialties in endocrinology and internal medicine. I received a
Bachelor of Science Degree in Biology with concentration in Molecular Cell Biology in
1997. I received my medical degree from the University of Southern California in 2001. I
completed my residency in internal medicine at Los Angeles County/University of
Southern California Medical Center in 2004. I also completed a fellowship in
endocrinology, diabetes and metabolism at Los Angeles County/University of Southern
California Medical Center in 2006.

The information provided regarding my professional background are detailed in my
curriculum vitae attached as Exhibit A.

I have been practicing endocrinology in private practice in Rocklin, CA for the past 15
years. In my clinical practice as an endocrinologist, I evaluate patients with hormone
excess, hormone deficiency, and other glandular disorders. These conditions result in
numerous physical and psychological manifestations which I diagnose and treat.

I first began writing about gender dysphoria and the harms of gender affirmative therapy
in a letter I sent to a local school board in Newcastle, California in January of 2018. I
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voiced my concerns regarding misinformation and pertinent omissions in a book read in
school entitled "I am Jazz" which is a children's book that discusses gender identity.
These concerns were later published in The Public Discourse in an essay entitled
"Gender Dysphoria and Children: An Endocrinologist’s Evaluation of I am Jazz".
(Laidlaw, 2018).

In 2019, I coauthored, along with four of my physician colleagues, a letter to the editor
published in the Journal of Clinical Endocrinology and Metabolism, "Letter to the Editor:
Endocrine Treatment of Gender-Dsyphoria/Gender-Incongruent Persons: An Endocrine
Society Clinical Practice Guideline,” in which we voiced our serious concerns with
gender affirmative therapy (GAT) (Laidlaw, 2019).

In May of 2019 I spoke in the U.K.'s House of Lords at the invitation of Lord Lewis
Moonie. The title of my speech was "Medical Harms Associated with the Hormonal and
Surgical Therapy of Child and Adolescent Gender Dysphoria".

My recent publications include a letter to the editor of JCEM published in December
2021 “Erythrocytosis in a Large Cohort of Trans Men Using Testosterone: A Long-Term
Follow-Up Study on Prevalence, Determinants, and Exposure Years.”; "Gender
affirmation surgery conclusion lacks evidence (letter)" published in the American Journal
of Psychiatry in 2020; and "The Right to Best Care for Children Does Not Include the
Right to Medical Transition" published in The American Journal of Bioethics in 2019.
Other publications and Amicus Curiae Briefs are listed on my CV.

In the past four years, I have provided expert testimony in the following cases: JULIANA
PAOLI v. JOSEPH HUDSON et al. heard in THE SUPERIOR COURT OF THE STATE
OF CALIFORNIA, COUNTY OF TULARE. CASE NO. 279126. 2021;
United States District Court for the District of Arizona. DH and John Doe, Plaintiffs, vs.
Jami Snyder, Director of the Arizona Health Care Cost Containment System, in her
official capacity, Defendant. Case No. 4:20-cv-00335-SHR. 2020;
Supreme Court of British Columbia. File No. S2011599, Vancouver Registry. Between
A.M. Plaintiff and Dr. F and Daniel McKee Defendants. 11/23/20 & 11/25/20;
and Court of Appeal File No. CA45940, Vancouver Registry. B.C. Canada. Supreme
Court File No. E190334, between A.B. Respondent/Claimant, and C.D.
Appellant/Respondent, and E.F. Respondent/Respondent. 24 Jun 2019.

I have been retained by Defendant in the above-captioned lawsuit to provide an expert
opinion on the medical soundness of the Alabama Vulnerable Child Compassion and
Protection Act. The opinions expressed are based on my experience and education, a


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review of the complaint and expert reports submitted by the plaintiffs, and the literature
cited below.

I am compensated at the rate of $450 per hour for my analysis, study, consultations,
and preparation of expert reports, $650 per hour for testifying in court or deposition, and
$250 per hour for travel. My compensation is not dependent upon the substance of my
opinions or the outcome of the case.


                                  A. Endocrine Disorders

Before discussing gender dysphoria and gender affirmative therapy from the
perspective of an endocrinologist, it is helpful to discuss the background of endocrine
diseases. This background demonstrates the difference in gender dysphoria, which is a
psychological diagnosis, and other conditions treated by endocrinologists, which are
physical diagnoses.

Endocrinology is the study of glands and hormones. Endocrine disorders can be divided
into three main types: those that involve hormone excess, those that involve hormone
deficiency, and those that involve structural abnormalities of the glands such as
cancers.

It is important for the endocrinologist to determine the cause of hormone gland excess
or deficiency in order to devise an appropriate treatment plan. The plan will generally be
to help bring the hormones back into balance and thus bring the patient back to health.

To give an example of hormone excess, hyperthyroidism is a term which means
overactivity of the thyroid gland. In this condition excess thyroid hormone is produced by
the thyroid gland. This results in various physical and psychological changes for the
afflicted patient. Examples of physical changes can include tachycardia or fast heart
rate, hand tremors, and weight loss. Examples of psychological symptoms include
anxiety, panic attacks, and sometimes even psychosis.

An endocrinologist can recognize thyroid hormone excess in part by signs and
symptoms, but can also confirm the diagnosis with laboratory testing that shows the
thyroid hormones to be out of balance. Once this is determined and the degree of
excess is known, then treatments can be given to bring these levels back into balance
to benefit the patient’s health and to prevent other disease effects caused by excess
hormone.


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To give another example, consider a deficiency of insulin. Insulin is a hormone which
regulates blood glucose levels. If there is damage to the pancreas such that insulin
levels are very low, then blood glucose levels will rise. If the glucose levels rise to a
certain abnormally high level, then this is considered diabetes. In the case of type 1
diabetes, insulin levels are abnormally low and therefore blood glucose levels are
abnormally high leading to a variety of signs and symptoms. For example, the patient
may have extreme thirst, frequent urination, muscle wasting, and weight loss. They may
often experience lethargy and weakness.

In this case laboratory tests of glucose and insulin levels can confirm the diagnosis.
Once diabetes is confirmed, the patient is then treated with insulin to help restore
glucose balance in the body and prevent long term complications of diabetes.

To give an example of a structural abnormality, a patient may have a lump on the
thyroid gland in the neck. This may be further examined by an imaging test such as an
ultrasound. A needle biopsy can be performed so that the cells can be examined under
a microscope. A trained medical professional such as a pathologist can then examine
the cells to determine if they are benign or cancerous. In the case of a thyroid cancer, a
surgical procedure known as a thyroidectomy may be performed to remove the
diseased thyroid gland in order to treat the cancer.

Noteworthy in the preceding three examples is that all three disease conditions are
diagnosed by physical observations. In other words, a laboratory test of a hormone, an
imaging test of an organ, an examination of cells under a microscope, or all three may
be employed in the diagnosis of endocrine disease.

                   B. Gender Dysphoria is a Psychological Diagnosis

Gender dysphoria, on the other hand, is not an endocrine diagnosis, it is in fact a
psychological diagnosis. It is diagnosed purely by psychological methods of behavioral
observation and questioning.

Likewise what is termed gender identity is a psychological concept. It has no correlate in
the human body. In the letter to the editor I wrote with my colleagues, discussed above,
we wrote in our critique of the Endocrine Society Guidelines that "There are no
laboratory, imaging, or other objective tests to diagnose a 'true transgender' child"
(Laidlaw et al., 2019).

For example, one cannot do imaging of the human brain to find the gender identity.
Likewise, there is no other imaging, laboratory tests, biopsy of tissue, autopsy of the

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brain, or genetic testing that can identify the gender identity. There is no known gene
that maps to gender identity or to gender dysphoria. In other words, there is no objective
physical measure to identify either gender identity or gender dysphoria.

This is in contrast to all other endocrine disorders which have a measurable physical
change in either hormone levels or gland structure which can be confirmed by physical
testing. Therefore, gender dysphoria is a purely psychological phenomenon and not an
endocrine disorder. But as my colleagues and I wrote in our letter to the editor, it
becomes an endocrine condition through gender affirmative therapy: "Childhood gender
dysphoria (GD) is not an endocrine condition, but it becomes one through iatrogenic
puberty blockade (PB) and high-dose cross-sex (HDCS) hormones. The consequences
of this gender-affirmative therapy (GAT) are not trivial and include potential sterility,
sexual dysfunction, thromboembolic and cardiovascular disease, and malignancy"
(Laidlaw, et al. 2019).

                          C. Gender Dysphoria and Desistance

Gender dysphoria is a persistent state of distress that stems from the feeling that one's
gender identity does not align with their physical sex (American Psychiatric Association,
2013). It has been a relatively rare condition in children and adolescents. However there
have been very significant increases in referrals for this condition noted around the
globe.

For example, in the UK, "The number of referrals to GIDS [Gender Identity Development
Service] has increased very significantly in recent years. In 2009, 97 children and young
people were referred. In 2018 that number was 2519" ( Bell v Tavistock Judgment,
2020). There has been suggestion from parental reports that this increase may be in
part due to social contagion and fueled by social media/internet use (Littman, 2018).1

In “a study of the Finnish gender identity service, ‘75% of adolescents [assessed] had
been or were currently undergoing child and adolescent psychiatric treatment for
reasons other than gender dysphoria’ (Kaltiala-Heino, 2015). In fact, ‘68% had their first
contact with psychiatric services due to other reasons than gender identity issues.’ The
same study also showed that 26% percent had an autistic spectrum disorder and that a


1
  The French National Academy of Medicine wrote recently: "Parents addressing their
children’s questions about transgender identity or associated distress should remain
vigilant regarding the addictive role of excessive engagement with social media, which
is both harmful to the psychological development of young people and is responsible for
a very significant part of the growing sense of gender incongruence" (SEGM, 2022).
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disproportionate number of females (87%) were presenting to the gender clinics
compared to the past” (Laidlaw in gdworkinggroup.org, 2018).

Desistance is a term indicating that the child, adolescent, or adult who initially presented
with gender incongruence has come to experience a realignment of their internal sense
of gender and their physical body. “Children with [gender dysphoria] will outgrow this
condition in 61% to 98% of cases by adulthood. There is currently no way to predict who
will desist and who will remain dysphoric” (Laidlaw et al. 2019).

Because there is no physical marker to diagnose gender identity, and because it is not
possible to predict which child or adolescent will desist, it is not possible to know which
young person will remain transgender identified as adults. Also, because the rate of
desistance is so high, gender affirmative therapy will necessarily cause serious and
irreversible harms to many children and adolescents.


                     D. Biological Sex in Contrast to Gender Identity

Biological sex is the objective physical condition of having organs and body parts which
correspond to a binary sex. There are only two physical sexes, male and female. The
male is identified as having organs and tissues such as the penis, testicles and scrotum.
The female sex is identified by having organs and tissues such as the labia, vagina,
uterus, and ovaries. Biological sex is easily identified by physical observation such that
adults and even children of say four years old can identify the biological sex of a
newborn baby.

This is in contrast to gender identity, which as mentioned does not exist in any physical
sense. It is a subjective identification known only once a patient makes it known. It
cannot be identified by any physical means, cannot be confirmed by any outside
observer, and can change over time.

It is also noteworthy that the physical organs described above as representing biological
sex have a physical genetic correlate. In other words, it is a well-established scientific
fact that two X chromosomes identify the cells correlating to a female person, and an X
and a Y chromosome correlate to a male person.

Sex is clearly identified in 99.98% of cases by chromosomal analysis (Sax, 2002). Sex
is also clearly identified at birth in 99.98% of cases (Sax, 2002). Therefore, sex is a
clear provable objective reality that can be identified through advanced testing such as
karyotyping, or simple genital identification at birth by any layperson. The other 0.02%

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of cases have some disorder of sexual development. These do not represent an
additional sex or sexes, but simply a disorder on the way to binary sex development.
These conditions are not related to the diagnosis of gender dysphoria.

                               1. Embryologic development

Another confirmation that there are only two biological sexes comes from what is known
about embryologic development and fertilization. The biologic development of the
human person begins with a gamete from a female termed an ovum or egg and a
gamete from a biological male which is termed sperm. The fertilization of the egg by the
sperm begins the process of human biological development. The cells of the fertilized
ovum then multiply and the person undergoes the incredible changes of embryologic
development.

It is noteworthy that the male sperm comes from the biological male and the female egg
comes from the biological female. There is no other third or fourth or fifth type of gamete
that exists to begin the development of the human person. This is consistent with the
binary nature of human sex.

The sex binary of the human embryo is further developed between roughly weeks 8 to
12 of human development. There are two primitive structures present within the
developing embryo called the Wolffian duct and Mullerian ducts (Larsen et al., 2003).
The Wolffian ducts develop into substructures of the genitalia including the vas deferens
and epididymis which belong exclusively to the male sex. For the female, the Mullerian
ducts go on to form the uterus, fallopian tubes, cervix and upper one third of the vagina
which belong exclusively to the female sex.

Significantly once the male structures are developed from Wolffian ducts, the Mullerian
ducts are obliterated. This means that throughout the rest of embryological development
the Mullerian ducts will not form into biological female structures. Likewise, in the
female, the Wolffian ducts are destroyed by week 12 and will not form male structures
at any point in the future.2

Thus we can see in very early development that the sex binary is imprinted physically
not only in the chromosomes, but also on the very organs that the body produces.
Additionally, the potential to develop organs of the opposite sex is eliminated. Thus, in
the human being there are only two physical tracts that one may progress along, the
one being male and the other being female.

2Excepting disorders of sexual development, which are unrelated to the diagnosis of
gender dysphoria.
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                                 2. Pubertal development

As mentioned previously, at the time of birth an infant's sex is easily identified through
observation of the genitalia. Corresponding internal structures could also be confirmed
through imaging if needed.

In early childhood, some low level of sex hormones are produced by the sex glands.
The male testes produce testosterone. The female ovaries produce primarily the
hormone estrogen. These sex glands remain quiescent for the most part, producing low
levels of sex hormones until the time of pubertal development.

Puberty is a time of development of the sex organs, body, brain and mind. There are
well known changes in physical characteristics of the male such as growth of facial hair,
deepening of the voice, and increasing size of the testicles and penis. Importantly the
testicles will develop sperm under the influence of testosterone and become capable of
ejaculation. Because of these changes, the male will become capable of fertilizing an
egg. The inability to produce sperm sufficient to fertilize an egg is termed infertility.

For the female, pubertal development includes changes such as breast development,
widening of the pelvis, and menstruation. The female will also begin the process of
ovulation which is a part of the menstrual cycle and involves the release of an egg or
eggs from the ovary. Once the eggs are released in a manner in which they can
become fertilized by human sperm, the female is termed fertile. The inability to release
ovum that can be fertilized is infertility. These concepts will become important later on
when discussing puberty blockers and opposite sex hormones.

Puberty is also the time of social development when one changes schools appropriate
for maturity such as middle school and high school. Groups of kids are placed together
in such a way that they will develop with in concert their peers. This timing corresponds
to the physical changes of sexual development during puberty.

It is psychologically important for similarly developing kids to be grouped together as
they will have similar shared experiences and can continue to grow physically,
emotionally, and psychologically through the dramatic changes that occur during
puberty.




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                             3. Tanner stages of development

From a medical perspective it is important to know the stage of pubertal development of
the developing adolescent. This can be determined through a physical examination of
the body. The female will have changes in breast characteristics and pubic hair
development. Similarly, the male will have changes in testicular size and pubic hair
development. These findings can be compared to the Tanner staging system which will
allow the stage of puberty to be known.

Tanner stages are divided into five. Stage 1 is the pre-pubertal state before pubertal
development of the child begins. Stage 5 is full adult sexual maturity. Stages 2 through
4 are various phases of pubertal development (Greenspan and Gardner, 2004).

Awareness of the Tanner stage of the developing adolescent is also useful to assess for
maturation of sex organ development leading to fertility. For girls, menstruation and
ovulation occurs about two years after Tanner stage 2 and will typically be at Tanner
stage 4 or possibly 3 (Emmanuel and Boker, 2022). For boys, the first appearance of
sperm is typically Tanner Stage 4 (Emmanuel and Bokor, 2022). If puberty is blocked
before reaching these critical stages, the sex glands will be locked in a premature state
and incapable of fertility.

These concepts will be very important later when discussing puberty blockers and
opposite sex hormones.

                          4. Biological Sex Cannot Be Changed

It is not possible for a person to change from one biological sex to the other, and there
is no technology that allows a biological male to become a biological female or vice-
versa. It is not technologically possible at this time to change sex chromosomes; these
will remain in every cell throughout life. It is not technologically possible to transform sex
glands from one to the other. In other words, there are no hormones or other means
currently known to change an ovary into a testicle or a testicle into an ovary.

Furthermore, as noted earlier, several of the sex specific structures (such as the
epidymis of the male or uterus of the female) are produced early in embryological
development from around weeks 8 to 12. The primitive ducts which lead to these organs
of the opposite sex are obliterated. There is no known way to resuscitate these ducts
and continue development of opposite sex structures.



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It is also not possible to produce gametes of the opposite sex. In other words, there is
not any known way to induce the testicles to produce eggs. Nor is there any known way
to induce the ovaries to produce sperm. Therefore, creating conditions for a biological
female to create sperm capable of fertilizing another ovum is impossible. Likewise in the
human male testicle cannot be induced to create eggs. The induction of opposite sex
fertility is impossible.

In fact, as I will discuss, gender affirming therapy actually leads to infertility and potential
sterilization.

                                     E. Iatrogenic Harms

The term iatrogenic is used in medicine to describe harms or newly created medical
conditions that are the result of medications, surgeries, or even psychological
treatments. In this section I will discuss the iatrogenic harms of “gender affirmative
treatment,” which includes treatment addressed by Alabama’s law. Each of the four
interventions which I will describe (social transition, puberty blockers, opposite sex
hormones, and surgery) lead to iatrogenic harms to the patient. These harms will be
described in detail below.


                               1. Gender Affirmative Therapy

The approaches to gender dysphoria may be divided into three main types. (Zucker,
2020). One is pyschosocial treatment that helps the young person align their internal
sense of gender with their physical sex. Another would be to "watch and wait" and allow
time and maturity to help the young person to align sex and gender through natural
desistance. The third option, which is the focus of that which follows, is referred to as
gender affirmative therapy.


Gender affirmative therapy (GAT) consists of psychosocial, medical, and surgical
interventions that attempt to psychologically and medically alter the patient so that they
come to believe that they may become similar to the physical sex which aligns with their
gender identity (but not their biological sex) and thereby reduce gender dysphoria. GAT
consists of four main parts: 1) social transition, 2) blocking normal puberty, 3) high dose
opposite sex hormones, and 4) surgery of the genitalia and breasts.

The application of this medical therapy to minors is a fairly new intervention and is
associated with a number of harms both known and unknown. GAT suffers from a lack

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of a quality evidence-base, poorly performed studies, and ongoing unethical human
experimentation.

                                     2. Social transition

The first stage of gender affirmative therapy is termed social transition. Social transition
is a psychological intervention. The child may be encouraged to adopt the type of
clothing and mannerisms or behaviors which are sterotypical of the opposite sex within
a culture. For example, in the United States a boy might wear his hair long and wear
dresses in order to socially transition. A girl may cut her hair short and wear clothes
from the boys' section of a department store.

Social transition has been noted by expert researcher in the field of child gender
dysphoria, Ken Zucker, to itself be a form of iatrogenic harm (Zucker, 2020). This
insofar as the social transition process may solidify the young person's belief that they
are in fact the sex opposite of that which was identified at birth.

It is easy to see why in the child's mind, by having the outward appearance of the
opposite sex, that they would believe that they should have been destined to go through
puberty of the opposite sex as they have only a poor understanding of the internal
structures of the body, the function of the sex glands, the role of the sex glands in
fertility and so forth.

Therefore, it would be quite frightening for a boy who believes he is a girl to be turning
into a man with all of the adult features that accompany manhood. Vice versa, the girl
who has become convinced that she is a boy will be frightened by the physical changes
brought on by womanhood.

This is evident in the declaration of Megan Poe where she states: “Seeing Allison’s
response to the Alabama legislature’s consideration of the Act and knowing how afraid
she is of male puberty” (Megan Poe Declaration, 2022).

In fact it would appear that in the minds of the children and adolescents that they are
anticipating a sort of disease state in the future by the hormone changes that will occur
as a normal and natural part of human development. Until relatively recently in human
history, it has not been possible to block puberty through pharmaceutical means.




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                              3. Puberty blocking medication

The second step of the gender affirmative therapy model involves blocking normal
pubertal development.

In order to understand what is occurring in this process, it is helpful to be aware of
normal hormone function during pubertal development.

There is a small pea-sized gland in the brain called the pituitary. It is sometimes referred
to as the "master gland" as it controls the function of several other glands. One key
function for our purposes is the control of the sex glands. There are two specific
hormones produced by the pituitary referred to as luteinizing hormone (LH) and follicle
stimulating hormone (FSH). These are responsible for sex hormone production and
fertility. The LH and FSH act as signals to tell the sex glands begin or continue their
function.

In the adult male, the production of LH will cause adult levels of testosterone to be
produced by the testicles. In the adult female, the production of LH will cause adult
levels of estrogen to be produced by the ovaries.

In early childhood, prior to the beginning of puberty, the pituitary function with respect to
the sex glands is quiescent. However, during pubertal development LH will signal the
testicle to increase testosterone production and this carries the boy through the stages
of pubertal development into manhood. Likewise for the female, the interaction of LH
with the ovaries increases estrogen production and carries the girl through the stages of
development into womanhood.

There are conditions diagnosed by the endocrinologist which involve a disruption of this
normal communication between the pituitary and the sex glands. There is a medical
condition called hypogonadotropic hypogonadism. The meaning of this term is that the
pituitary is not sending the hormonal signals (LH and FSH) to the sex glands and
therefore the sex glands are unable to make their sex hormones. The result is hormonal
deficiencies of LH, FSH, and either testosterone or estrogen.

If this condition occurs during puberty, the effect will be to stop pubertal development.
This is a disease state which is diagnosed and treated by the endocrinologist.

Medications such as GnRH agonists3 act on the pituitary gland to lower the pituitary
release of LH and FSH levels dramatically. The result is a blockage of the signaling of

3   Gonadotropin Releasing Hormone agonists
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the pituitary to the testicles or ovaries and therefore underproduction of the sex
hormones. There are a variety of uses for GnRH agonists. The use and outcome can be
very different for different applications.

For example, the initial development of the medication called Lupron was for the
treatment of prostate cancer. The idea being that blocking pituitary hormones will block
the adult male's release of testosterone from the testicles. Since testosterone will
promote the growth of prostate cancer, the idea is to lower testosterone levels to a very
low amount and therefore prevent the growth and spread of prostate cancer. This is a
labeled use of the medication. In other words, there is FDA approval for this use.

Another labeled use of GnRH agonist medication is for the treatment of central
precocious puberty. In the disease state of central precocious puberty, pituitary
signaling is activated at an abnormally young age, say age four, to begin pubertal
development. In order to halt puberty which has begun at an abnormally early time, a
GnRH agonist may be used. Here the action of the medication on the pituitary will
disrupt the signaling to the sex glands, stop early sex hormone production, and
therefore stop abnormal pubertal development.

Then, at a more normal time of pubertal development, say age 11, the medication is
stopped and puberty is allowed to proceed.4 The end result is to restore normal sex
gland function and timing of puberty. This is a labeled use for a GnRH agonist
medication.

What about the use of puberty blockers such as Lupron in gender affirmative therapy?
In these cases, we have physiologically normal children who are just beginning puberty
or are somewhere in the process of pubertal development. They have healthy pituitary
glands and sex organs. However, a puberty blocking medication is administered to stop
normal pubertal development.

In this case the condition of hypogonadotropic hypogonadism described above is
induced medically and is an iatrogenic effect of treating the psychological condition of
gender dysphoria. GnRH agonist medications have not been FDA approved for this use.




4 Once the medication is discontinued, it will take a number of months to a year or
longer for the pituitary to regain its usual function.
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              4. Adverse Health Consequences of Blocking Normal Puberty

There are a number of serious health consequences that occur as the result of blocking
normal puberty. The first problem is infertility. The Endocrine Society Guidelines
recommend beginning puberty blockers as early as Tanner stage 2. As discussed
earlier, this is the very beginning of puberty. Fertility development happens later
generally in Tanner stage 4. One can see that if the developing person is blocked at
Tanner stage 2 or 3 as advocated by the guidelines, this is prior to becoming fertile. The
gonads will remain in an immature, undeveloped state.

This is why the guidelines refer to fertility preservation. However, studies show that less
than 5% of adolescents receiving GAT even attempt fertility preservation (Nahata,
2017). Also fertility preservation for persons with immature ovaries and testicles is much
more complicated, expensive and in many cases still experimental (Laidlaw, Cretella, et
al. 2019).

Naturally, these children are at a developmental age where they are not thinking about
adult related concepts such as having children as they are children themselves. This is
only natural and to be expected. The medical problem imposed on them is that if they
remain blocked in an early pubertal stage then even the addition of opposite sex
hormones will not allow for the development of fertility. In fact, high dose opposite sex
hormones may permanently damage the immature sex organs leading to sterilization.
Certainly the removal of the gonads, which will be discussed later, will ensure
sterilization.

Another problem with blocking puberty at an early stage is sexual dysfunction. The child
will continue their chronological age progression toward adulthood and yet remain with
undeveloped genitalia. This will lead to sexual dysfunction including potential erectile
dysfunction and inability to ejaculate and orgasm for of the male. For the female with
undeveloped genitalia potential sexual dysfunction may include painful intercourse and
impairment of orgasm.

The impairment of sexual function was evident in the TLC reality show "I am Jazz". In
the show Jazz who was identified male at birth has been given puberty blockers at an
early pubertal stage. In an episode where Jazz visits a surgeon and has a discussion
about sexual function, Jazz states: “I haven’t experienced any sexual sensation.”
Regarding orgasm, Jazz says: “I don’t know, I haven’t experienced it”5 (TLC, accessed
2022).


5   Jazz's age is somewhere in the mid-teens during this episode.
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In addition to direct effects on the developing genitalia and fertility there are other
important aspects of puberty that are negatively affected. For example, puberty is a time
of rapid bone development. This time of development is critical in attaining what we call
peak bone density or the maximum bone density that one will acquire in their lifetime
(Elhakeem, 2019).

Any abnormal lowering of sex hormones occurring during this critical time will stop the
rapid accumulation of bone and therefore lower ultimate adult bone density. If a person
does not achieve peak bone density, they would be expected to be at future risk for
osteoporosis and the potential for debilitating spine and hip fractures as adults. Hip
fractures for the older patient very significantly increase the risk of major morbidity and
death (Bentler, 2009). Allowing a "pause" in puberty for any period of time leads to an
inability to attain peak bone density.

Another consideration is maturation of the human brain. Much of what happens is
actually unknown. However, “sex hormones including estrogen, progesterone, and
testosterone can influence the development and maturation of the adolescent brain”
(Arain, 2013). Therefore there are unknown, but likely negative consequences to
blocking normal puberty with respect to brain development.

A third major problem with blocking normal puberty involves psychosocial development.
Adolescence is a critical time of physical, mental, and emotional changes for the
adolescent. It is important that they develop socially in conjunction with their peers. This
is well recognized in the psychological literature: “For decades, scholars have pointed to
peer relationships as one of the most important features of adolescence.” (Brown,
2009). If one is left behind for several years under the impression that they are awaiting
opposite sex puberty, they will miss important opportunities for socialization and
psychological development. Psychosocial development will be necessarily stunted as
they are not developing with their peers. This is a permanent harm as the time cannot
be regained.

Aside from the multiple serious problems that are iatrogenically acquired by blocking
normal puberty, there appear to be independent risks of the puberty blocking medication
themselves. For example, one can read the labeling of a common puberty blocking
medication called Lupron Depot-Ped and find under psychiatric disorders: "emotional
lability, such as crying, irritability, impatience, anger, and aggression. Depression,
including rare reports of suicidal ideation and attempt. Many, but not all, of these
patients had a history of psychiatric illness or other comorbidities with an increased risk
of depression” (Lupron, 2022). This is particularly concerning given the high rate of
psychiatric comorbidity with gender dysphoria discussed previously.

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                    5. The Effect of Puberty Blockers on Desistance

As stated earlier a very high proportion of minors diagnosed with gender dysphoria will
eventually desist or come to accept their physical sex. Puberty blockers have been
shown to dramatically alter natural desistance.

In a Dutch study that included seventy adolescents who took puberty blockers, all
seventy decided to go on to hormones of the opposite sex (de Vries, et al. 2011). In a
follow-up study, the majority went on to have sex reassignment surgery by either
vaginoplasty for males or hysterectomy with ovariectomy for females (de Vries, et al.
2014). These surgeries resulted in sterilization. This is why puberty blockers, rather than
being a “pause” to consider aspects of mental health, are instead a pathway towards
future sterilizing surgeries.

                               6. Opposite Sex Hormones

The third stage of gender affirmative therapy involves using hormones of the opposite
sex at high doses to attempt to create secondary sex characteristics in the person's
body. Before beginning I will describe FDA approved usages of estrogen and
testosterone

                                      a. Testosterone

Testosterone is an anabolic steroid of high potency. It is classified as a Schedule 3
controlled substance by the DEA: "Substances in this schedule have a potential for
abuse less than substances in Schedules I or II and abuse may lead to moderate or low
physical dependence or high psychological dependence" (DEA, 2022)

I prescribe testosterone to men for testosterone deficiency. The state of testosterone
deficiency can cause various problems including problems of mood, sexual function,
libido, and bone density. Prescription testosterone is given to correct the abnormally low
levels and bring them back into balance.

Estrogen is the primary sex hormone of the female. Prescription estrogen may be used
if a woman has low estrogen levels due to premature failure of her ovaries. Estrogen is
prescribed to bring these levels back into a normal range for the patient's age. Another
labeled use of estrogen is to treat menopausal symptoms.



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In GAT, what is termed "cross sex hormones" is the use of hormones of the opposite
sex to attempt to create secondary sex characteristics. In order to do so, very high
doses of these hormones are administered. When hormone levels climb above normal
levels they are termed supraphysiologic.

The female person does produce some smaller amount of testosterone relative to the
male. The normal reference range for adult females depending on the lab is about 10 to
50 ng/dL. However, in female disease conditions these levels can be much higher. For
example, in polycystic ovarian syndrome levels may range from 50 to 150 ng/dL. PCOS
has been associated with insulin resistance (Dunaif, 1989), metabolic syndrome
(Apridonidze, 2005) and diabetes (Joham, 2014).

In certain endocrine tumors such as adrenal carcinoma these levels may be
substantially higher in the 300 to 1000 ng/dl range. Adrenal carcinoma is a serious
medical condition and may be treated by surgery and potent endocrine medications.

      b. Opposite Sex Hormones - Supraphysiologic Doses of Testosterone for
                                     Females

Recommendations from the Endocrine Society's clinical guidelines are to ultimately
raise female levels of testosterone to 320 to 1000 ng/dL6 which is on the same order as
dangerous endocrine tumors for women as described above (Hembree, 2017). A simple
calculation shows this level may be anywhere from 6 to 100 times higher than native
female testosterone levels. In doing so they are creating a hormone imbalance known
as hyperandrogenism. These extraordinarily high levels of testosterone are associated
with multiple risks to the physical and mental health of the patient.

"Studies of transgender males taking testosterone have shown up to a nearly 5-fold
increased risk of myocardial infarction relative to females not receiving testosterone"
(Laidlaw et al.,2021; Alzahrani et al., 2019). A female can also develop unhealthy, high

6In the Endocrine Society's Guidelines there is no grading of evidence for the rationale
of using such high supraphysiologic doses of opposite sex hormones for the female or
male. There seems to be an underlying assumption that because the person believes to
be the opposite sex then they acquire the sex specific laboratory ranges of the opposite
sex. "The root cause of this flaw in thinking about diagnostic ranges was exemplified in
a response letter by Rosenthal et al claiming that gender identity determines the ideal
physiologic range of cross-sex hormone levels (5). Thus a psychological construct, the
“gender identity,” is imagined to affect physical reality and change a person’s sex-
specific laboratory reference ranges. This is clearly not the case, otherwise there would
be no serious complications of high-dose androgen treatment in transgender males"
(Laidlaw et al., 2021).
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levels of red blood cells referred to as erythrocytosis. These high red blood cell counts
in young women have been shown to be an independent risk factor for cardiovascular
disease, coronary heart disease and death due to both (Gagnon, 1994).

Other permanent effects of testosterone therapy involve irreversible changes to the
vocal cords. Abnormal amounts of hair growth which may occur on the face, chest,
abdomen, back and other areas is known as hirsutism. Should the female eventually
regret her decision to take testosterone, this body hair can be very difficult to remove.
Male pattern balding of the scalp may also occur. These changes of voice and hair
growth can be very psychologically troubling when attempting to reintegrate into society
as a female.

Changes to the genitourinary system include polycystic ovaries and atrophy of the lining
of the uterus. The breasts have been shown to have an increase in fibrous breast tissue
and a decrease in normal glandular tissue (Grynberg et al., 2010). Potential cancer risks
from high dose testosterone include ovarian and breast cancer (Hembree, 2017).

According to research regarding testosterone abuse, high doses of testosterone have
been shown to predispose individuals towards mood disorders, psychosis, and
psychiatric disorders. The "most prominent psychiatric features associated with AAS
[anabolic androgenic steroids, i.e. testosterone] abuse are manic-like presentations
defined by irritability, aggressiveness, euphoria, grandiose beliefs, hyperactivity, and
reckless or dangerous behavior. Other psychiatric presentations include the
development of acute psychoses, exacerbation of tics and depression, and the
development of acute confusional/delirious states" (Hall, 2005). Moreover, "[s]tudies...
of medium steroid use (between 300 and 1000 mg/week of any AAS) and high use
(more than 1000 mg/week of any AAS) have demonstrated that 23% of subjects using
these doses of steroids met the DSM-III-R criteria for a major mood syndrome (mania,
hypomania, and major depression) and that 3.4% — 12% developed psychotic
symptoms” (Hall, 2005).

          c. Opposite Sex Hormones - Supraphysiologic Estrogen for Males

For the male, estrogen is being used at supraphysiologic doses. The high doses are
used in an attempt to primarily affect an increase of male breast tissue development
known as gynecomastia. Gynecomastia is the abnormal growth of breast tissue in the
male. The occurrence of gynecomastia in the male is sometimes corrected by
medication or more commonly by surgery if needed. Other changes of secondary sex
characteristics may develop such as softening of the skin and changes in fat deposition
and muscle development.

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The doses of estrogen given to males for GAT are high and may vary from two to eight
or more times higher than normal adult male levels. This produces the endocrine
condition called hyperestrogenemia. Long term consequences include increased risk of
myocardial infarction and death due to cardiovascular disease (Irwig, 2018). Also
"[t]here is strong evidence that estrogen therapy for trans women increases their risk for
venous thromboembolism7 over 5 fold" (Irwig, 2018).

Breast cancer is a relatively uncommon problem of the male. However the risk of a male
developing breast cancer has been shown to be 46 times higher with high dose
estrogen (Christel et al., 2019).

It is clear that supraphysiologic doses of either testosterone for the female or estrogen
for the male can have detrimental health consequences. This is only now being borne
out in the literature for adults. However as more children and adolescents are put on
these medications one would expect these consequences to become more frequent and
to occur earlier in their lives.

                                        7. Surgeries

The fourth stage of gender affirmative therapy is surgical alterations of the body of
various kinds in an attempt to somehow mimic features of the opposite sex.

Individual surgical procedures can be a complex topic. It is helpful to first step back and
consider conceptually what any surgery can and cannot accomplish.

In its basic form surgery is subtractive. In other words, a portion of tissue, an organ or
organs are removed in order to restore health. For example, a diseased gallbladder may
be surgically removed to help the patient get back to wellness. An infected appendix
may be surgically removed to prevent worsening infection or even death. In both of
these cases an unhealthy body part is surgically removed in order to restore health.

In some cases a diseased tissue or organ is removed so that a foreign replacement part
may be substituted for an unhealthy organ or tissue. For example, a diseased heart
valve may be replaced with a pig valve or a prosthetic heart valve. Another example is a
failed liver may be replaced by liver transplant.



7Venous thromboembolism is a blood clot that develops in a deep vein and "can cause
serious illness, disability, and in some cases, death” (CDC, 2022).
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Though modern surgical techniques and procedures are astounding, there are very
noteworthy limitations. Importantly, surgery cannot de novo create new organs. If a
person's kidneys fail, the surgeon has no scientific method for creating a new set of
kidneys that can be implanted or grown within the patient. This conceptual background
is helpful when considering various gender affirming surgeries.

There are a variety of gender affirming surgeries. These may include mastectomies,
vaginoplasty, metoidioplasty, and phalloplasty.

                                      a. Mastectomy

Mastectomies are the surgical removal of the breasts. The procedure is used in GAT in
an attempt to make the chest appear more masculine. The surgery results in a
permanent loss of the ability to breastfeed and significant scarring of 7 to 10 inches. The
scars are prone to widening and thickening due to the stresses of breathing and arm
movement. Other potential complications include the loss of normal nipple sensation
and difficulties with wound healing.

It is important to note that this operation cannot be reversed. The female will never
regain healthy breasts capable of producing milk to feed a child. Similar to the problems
of receiving opposite sex hormones and puberty blockers at a young age, the
adolescent is too young to consent to lifelong changes for which she cannot fully
appreciate the ramifications. One would not generally expect a 13-year-old or 16-year-
old to have thought deeply or to be concerned about breast-feeding in her 20s or 30s or
older.

Another important consideration is that compared to the removal of an unhealthy
gallbladder or appendix, in the case of gender dysphoria the breasts are perfectly
healthy and there is no organic disease process such as a cancer warranting their
removal. The future woman who later desists is left with regret about what happened to
her at an age before she could provide true informed consent. Breasts cannot be
created by a surgeon and restored to a patient in case of regret. She is left with
permanent injury and loss of function with respect to her breasts.

Other types of surgery for females include those of the genitalia and reproductive tract.
For example the ovaries, uterus, fallopian tubes, cervix and the vagina may be
surgically removed. Removal of the ovaries results in sterilization.




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Importantly, removing female body parts does not produce a male. Rather, the female
has had sex specific organs permanently destroyed with no hope of replacement, while
remaining biologically female.

There have also been attempts to create a pseudo-penis. This procedure is known as
phalloplasty. It is not possible to de novo create a new human penis. Instead a roll of
skin and subcutaneous tissue is removed from one area of the body, say the thigh or
the forearm, and transplanted to the pelvis. An attempt is made to extend the urethra or
urinary tract for urination through the structure. This transplanted tissue lacks the
structures inherent in the male penis which allow for erection, therefore erectile devices
such as rods or inflatable devices are placed within the tube of transplanted tissue in
order to simulate erection (Hembree, 2017). The labia may also be expanded to create
a simulated scrotum containing prosthetic objects to provide the appearance of
testicles.

Complications may include urinary stricture, problems with blood supply to the
transplanted roll of tissue, large scarring to the forearm or thigh, infections including
peritonitis, and possible injury to the sensory nerve of the clitoris.

                               b. GAT Surgeries on the Male

GAT surgeries for the male include removal of the testicles alone to permanently lower
testosterone levels. This is by nature a sterilizing procedure. Further surgeries may be
done in an attempt to create a pseudo-vagina which is called vaginoplasty. In this
procedure, the penis is surgically opened and the erectile tissue is removed. The skin is
then closed and inverted into a newly created cavity in order to simulate a vagina. A
dilator must be placed in the new cavity for some time so that it does not naturally close.

Potential surgical complications may include urethral strictures, infection, prolapse,
fistulas and injury to the sensory nerves with partial or complete loss of erotic sensation.

           c. The Effect of Puberty Blockers on the Vaginoplasty Procedure

It is important to understand that the use of puberty blockers for the male makes the
vaginoplasty procedure even more complicated. Puberty blockers prevent the growth
and elongation of the penis that naturally occurs during puberty. Therefore the surgeon
has a limited length of penile skin to work with. In these cases a technique is employed
whereby a segment of the large bowel (colon) is surgically excised while leaving its
blood supply intact. The segment of colon is then connected to the short, inverted penile
skin in attempt to extend the length of the pseudo-vagina. Obviously the risk and types

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of complications increase further and multiple surgeries and revisions may need to be
employed.

      F. Life Threatening Physical Medical Conditions Versus Suicidal Ideation

Any child or adolescent who has suicidal ideation or has attempted suicide should
receive immediate, appropriate psychiatric care. Psychologists and psychiatrists are
trained in the recognition and treatment of suicidal ideation and prevention of suicide. A
child or adolescent with gender dysphoria who also has suicidal ideation should not be
treated any differently. They require compassionate care and a full psychological
evaluation of comorbidities such as depression, anxiety, and self-harming behaviors.

However, suicidal ideation or attempts are categorically different than other life-
threatening situations, such as a rapidly expanding brain tumor or a severe infection. In
these situations, a medication or a surgery is used to stop the progression of an organic
physical condition. In contrast, the danger to the self with suicidal ideation relates to a
condition of the mind.

Gender affirmative therapy does not treat any life-threatening physical condition. In fact
it creates a number of new medical conditions as described above. It is also not an
appropriate treatment for suicidal ideation. Neither puberty blocking medications, nor
testosterone, nor estrogen have been FDA approved for suicide prevention. In my
opinion, it is possible that the hormone imbalances generated by the medications used
in GAT may increase the risk of suicidal ideation and completed suicide.

                                   G. Informed Consent

Any person who is to take a medication, undergo a surgical procedure, or have a
psychological intervention should understand the risks and benefits before proceeding.
A discussion of these risks and benefits should be provided by medical professionals
and then the person of sufficient intellectual capacity and maturity can consent to the
treatment.

Naturally difficulties arise when a minor is involved in the process of medical decision-
making. Their intellect, emotions, and judgement are not fully developed and they are
not capable of fully appreciating permanent, life altering changes such as described
above. Therefore, they cannot provide informed consent. They may sometimes "assent"
to a procedure or medication with a parent or guardian making the final decision.



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With respect to GAT, I believe that it is not possible for the parent or guardian to make a
true informed consent decision for the child because of the poor quality of evidence of
benefit, the known risks of harm, and the many unknown long-term risks of harm which
could only truly be known after years and decades of gender affirmative therapy. A
parent or guardian cannot consent to dubious treatments which result in irreversible
changes to their child's body, infertility, sexual dysfunction, and in many cases eventual
sterilization.

Because this age group is still undergoing brain development and they are immature
with respect to intellect, emotion, judgment, and self-control, in my professional opinion
there is a significant chance a young person may later regret the irreversible bodily
changes that result from hormones or from removing an organ or organs that will no
longer function and cannot be replaced.

I would also note that adolescents are more prone to high-risk behavior and less likely
to fathom the risks and consequences of these decisions (Steinberg, 2008).

                       H. The WPATH and The Endocrine Society

The declarations of Dr. Linda Hawkins, Dr. Stephen Rosenthal, and Dr. Jane Moe cite
the World Professional Association for Transgender Health’s (“WPATH”) “Standards of
Care for the Health of Transsexual, Transgender, and Gender Non-Conforming People.”
According to their declarations, Dr. Hawkins is a longstanding member of WPATH, and
Dr. Rosenthal is on the Board of Directors of WPATH.

WPATH’s “Standards of Care” were prepared within their advocacy organization and
are purported to be a “professional consensus about the psychiatric, psychological,
medical, and surgical management of gender dysphoria” (WPATH, 2022). However, the
“professional consensus” exists only within the confines of its organization.
Furthermore, their “Standards of Care,” unlike the Endocrine Society’s guidelines, do
not have a grading system for either the strength of their recommendations or the
quality of the evidence presented.

While the Endocrine Society has issued “Endocrine Treatment of Gender-
Dysphoric/Gender-Incongruent Persons: An Endocrine Society Clinical Practice
Guideline,” these are only “guidelines.” The Endocrine Society’s guidelines specifically
state that their “guidelines cannot guarantee any specific outcome, nor do they establish
a standard of care” (Hembree at al, 2017, p. 3895). This contradicts Dr. Rosenthal’s
claim about the guidelines calling it “a guide detailing the standard of medical care for
gender dysphoria”.

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In the Endocrine Society’s guidelines, the quality of evidence for the treatment of
adolescents is rated “very low-quality evidence” and “low quality evidence”. “The quality
of evidence for [puberty blocking agents] is noted to be low. In fact, all of the evidence in
the guidelines with regard to treating children/adolescents by [gender affirmative
therapy] is low to very low because of the absence of proper studies” (Laidlaw et al.,
2019).

Unlike some other recommendations for adolescent GAT, the Endocrine Society’s
guidelines do not include any grading of the quality of evidence specifically for their
justification of laboratory ranges of testosterone or estrogen or for adolescent
mastectomy or other surgeries.

                    I. The Lack of Evidence of Effectiveness of GAT

There is also evidence that questions the long-term effectiveness of opposite sex
hormones and gender reassignment surgery. A Swedish study in 2011 examined data
over a 30-year period (Dehejne, 2011). The Dhejne team made extensive use of
numerous Swedish registries and examined data from 324 patients in Sweden over 30
years who had taken opposite sex hormones and had undergone sex reassignment
surgery. They used population controls matched by birth year, birth sex, and reassigned
sex. When followed out beyond ten years, the sex-reassigned group had nineteen times
the rate of completed suicides and nearly three times the rate of all-cause mortality and
inpatient psychiatric care compared to the general population of Sweden.

Other published studies of GAT have been shown to have serious errors. For example a
major correction was issued by the American Journal of Psychiatry. The editors of an
October 2019 study, titled “Reduction in mental health treatment utilization among
transgender individuals after gender-affirming surgeries: a total population study”
(Bränström study) retracted their original primary conclusion. Letters to the editor by
twelve authors including myself led to a reanalysis of the data and a corrected
conclusion stating that in fact the data showed no improvement in mental health for
transgender identified individuals after surgical treatment (“Correction”, 2020; Van Mol
et al., 2020). 8

The Centers for Medicare and Medicaid Services (“CMS”) has found “inconclusive”
clinical evidence regarding gender reassignment surgery. Specifically, the CMS
Decision Memo for Gender Dysphoria and Gender Reassignment Surgery (CAG-

8The study also did not show an improvement in mental health with opposite sex
hormones.
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00446N) (June 19, 2019) states: “The Centers for Medicare & Medicaid Services (CMS)
is not issuing a National Coverage Determination (NCD) at this time on gender
reassignment surgery for Medicare beneficiaries with gender dysphoria because the
clinical evidence is inconclusive for the Medicare population.”

Also noteworthy is that other nations are questioning gender affirmative therapy. For
example in the Bell vs Tavistock Judgment in the UK, regarding puberty blockers in
GAT, they concluded that "there is real uncertainty over the short and long-term
consequences of the treatment with very limited evidence as to its efficacy, or indeed
quite what it is seeking to achieve. This means it is, in our view, properly described as
experimental treatment" ( Bell v Tavistock Judgment, 2020).

Finland in 2020 recognized that “[r]esearch data on the treatment of dysphoria due to
gender identity conflicts in minors is limited,” and recommended prioritizing
psychotherapy for gender dysphoria and mental health comorbidities over medical
gender affirmation (Council for Choices in Healthcare in Finland, 2020).

In 2021, Sweden’s largest adolescent gender clinic announced that it would no longer
prescribe puberty blockers or cross-sex hormones to youth under 18 years outside
clinical trials (SEGM, 2021).

Dr Hilary Cass "was appointed by NHS England and NHS Improvement to chair the
Independent Review of Gender Identity Services for children and young people in late
2020” (The Cass Review website, 2022).

In her interim report dated February 2022, it states that “[e]vidence on the appropriate
management of children and young people with gender incongruence and dysphoria is
inconclusive both nationally and internationally” (Cass, 2022).

Conclusion

The gender affirmative therapy model suffers from serious deficiencies in logic and
lacks scientific foundation. The deep error hidden in this model is that one cannot in fact
change sex. One cannot acquire the deep characteristics of biological sex in order to
gain the complete sexual and reproductive functions of the opposite sex. This is not
technologically possible.

Children and adolescents are of such immature minds that they are likely to believe that
it is possible. In fact they may come to believe that their inherent, biologically necessary
puberty is "terrifying". This fear begins as the result of social transition. Puberty blockers

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NOS. 20-35813, 20-35815, UNITED STATES COURT OF APPEALS FOR THE NINTH
CIRCUIT, LINDSAY HECOX and JANE DOE, with her next friends Jean Doe and John
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                                     EMPLOYMENT

2006-Present   Michael K Laidlaw, MD Inc. Private Practice – Endocrinology, Diabetes, and
               Metabolism. Rocklin, CA


                                      EDUCATION


2004-2006      Endocrinology and Metabolism Fellowship - Los Angeles County/University of
               Southern California Keck School of Medicine
2001-2004      Internal Medicine Residency - Los Angeles County/University of Southern
               California Keck School of Medicine
1997-2001      University of Southern California Keck School of Medicine
               Doctor of Medicine Degree May 2001
1990-1997      San Jose State University
                Bachelor of Science Degree in Biology with a concentration in Molecular
               Biology, Cum Laude

                                       LICENSURE


California Medical License – Physician and Surgeon: # A81060: Nov 6, 2002. Exp 5/31/2024.


                            PROFESSIONAL AFFILIATIONS

Endocrine Society 2006-2022
National Board of Physicians and Surgeons - Endocrinology, Diabetes, & Metabolism 2018-2024
National Board of Physicians and Surgeons - Internal Medicine 2018-2024
American Board of Internal Medicine - Endocrinology, Diabetes, and Metabolism – 2006-2016
American Board of Internal Medicine - Internal Medicine - 2005-2015


                             HONORS AND RECOGNITION

2010           Endocrine Society Harold Vigersky Practicing Physician Travel Award
2004-2005      Vice President - Joint Council of Interns and Residents
2002-2004      Council Member – Joint Council of Interns and Residents
1996, 1997     Dean’s Scholar, San Jose State University
1995           Golden Key National Honor Society
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            RESEARCH, PUBLICATIONS, AND EXPERT REPORTS

2021       Publication – Michael K Laidlaw, Andre Van Mol, Quentin Van Meter, Jeffrey E
           Hansen. Letter to the Editor from M Laidlaw et al.: “Erythrocytosis in a Large
           Cohort of Trans Men Using Testosterone: A Long-Term Follow-Up Study on
           Prevalence, Determinants, and Exposure Years.” The Journal of Clinical
           Endocrinology & Metabolism, Volume 106, Issue 12, December 2021, Pages
           e5275–e5276, https://doi.org/10.1210/clinem/dgab514
2021       Brief of Amicus Curiae – Bursch, John J., McCaleb, Gary S., Van Meter, Quentin
           L., Laidlaw, Michael K., Van Mol, Andre, Hansen, Jeffrey E. Brief of Amicus
           Curiae. United States Court of Appeals for the Eight Circuit. DYLAN BRANDT,
           et al., Plaintiffs-Appellees v. LESLIE RUTLEDGE, in her official capacity as the
           Arkansas Attorney General, et. al. Defendants-Appellants. 23 Nov 2021.
2020       Expert Witness Affidavit 1 & 2 – Laidlaw MK. Supreme Court of British
           Columbia. File No. S2011599, Vancouver Registry. Between A.M. Plaintiff and
           Dr. F and Daniel McKee Defendants. 11/23/20 & 11/25/20.
2020       Brief of Amicus Curiae – Wenger, Randal L., McCaleb, Gary S., Grossman,
           Miriam, Laidlaw, Michael K., McCaleb, Gary S., Van Meter, Quentin L., Van
           Mol, Andre. Brief of Amicus Curiae. United States Court of Appeals for the
           Ninth Circuit. LINDSAY HECOX and JANE DOE, with her next friends Jean
           Doe and John Doe, Plaintiffs-Appellees v. BRADLEY LITTLE, in his official
           capacity as Governor of the State of Idaho, et. al. Defendant-Appellant. 19 Nov
           2020
2020       Expert Declaration – Laidlaw MK. United States District Court for the District of
           Arizona. DH and John Doe, Plaintiffs, vs. Jami Snyder, Director of the Arizona
           Health Care Cost Containment System, in her official capacity, Defendant. Case
           No. 4:20-cv-00335-SHR. 27 Sep 2020.
2020       Publication – Van Mol A, Laidlaw MK, Grossman M, McHugh P. "Correction:
           Transgender Surgery Provides No Mental Health Benefit." Public Discourse, 13
           Sep 2020. https://www.thepublicdiscourse.com/2020/09/71296/
2020       Publication – VanMol A, Laidlaw MK, Grossman M, McHugh P..
           "Gender-affirmation surgery conclusion lacks evidence (letter)". Am J Psychiatry
           2020; 177:765–766.
2020       Publication – Laidlaw MK. "The Pediatric Endocrine Society’s Statement on
           Puberty Blockers Isn’t Just Deceptive. It’s Dangerous." Public Discourse. 13 Jan
           2020. https://www.thepublicdiscourse.com/2020/01/59422/
2019       Expert Witness Affidavit – Laidlaw MK. Court of Appeal File No. CA45940,
           Vancouver Registry. B.C. Supreme Court File No. E190334, between A.B.
           Respondent/Claimant, and C.D. Appellant/Respondent, and E.F.
           Respondent/Respondent. 24 Jun 2019.
2019       Speech to the U.K. House of Lords – Laidlaw MK. “Medical Harms Associated
           with the Hormonal and Surgical Therapy of Child and Adolescent Gender
           Dysphoria”. Parliament, London, U.K. 15 May 2019.
2019       Publication – Laidlaw MK, Cretella M, Donovan K. "The Right to Best Care for
           Children Does Not Include the Right to Medical Transition". The American
           Journal of Bioethics. Volume 19. Published online 20 Feb 2019. 75-77.
           https://doi.org/10.1080/15265161.2018.1557288
2018       Brief of Amicus Curiae – Alliance Defending Freedom, Campbell, James A.,
           Grossman, Miriam, Laidlaw, Michael K., McCaleb, Gary S., Van Meter, Quentin
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             the Eleventh Circuit. Drew Adams, Plaintiff-Appellee, v. School Board of St.
             Johns County, Florida, Defendant-Appellant. 12/27/2018.
2018         Publication – Laidlaw MK, Van Meter QL, Hruz PW, Van Mol A, Malone WJ.
             Letter to the Editor: “Endocrine Treatment of
             Gender-Dysphoric/Gender-Incongruent Persons: An Endocrine Society Clinical
             Practice Guideline.” The Journal of Clinical Endocrinology & Metabolism,
             Volume 104, Issue 3, 1 March 2019, Pages 686–687,
             https://doi.org/10.1210/jc.2018-01925 (first published on-line 11/2018)
2018         Publication – Laidlaw MK. "The Gender Identity Phantom".
             gdworkinggroup.org, 24 Oct 2018.
             http://gdworkinggroup.org/2018/10/24/the-gender-identity-phantom/
2018         Publication – Laidlaw MK. “Gender Dysphoria and Children: An
             Endocrinologist’s Evaluation of ‘I am Jazz'”. Public Discourse, 5 Apr 2018.
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2013         Abstract – Poster presentation Jun 2013. Endocrine Society Annual Meeting. A
             12 Step Program for the Treatment of Type 2 Diabetes and Obesity.
2011         Abstract – Poster presentation Nov 2011. Journal of Diabetes Science and
             Technology. A Video Game Teaching Tool for the Prevention of Type 2 Diabetes
             and Obesity in Children and Young Adults.
2011         Abstract – Journal of Diabetes Science and Technology. A Web-Based Clinical
             Software Tool to Assist in Meeting Diabetes Guidelines and Documenting Patient
             Encounters.
2008         Abstract - Accepted to Endocrine Society Annual Meeting 2008. Hypercalcemia
             with an elevated 1,25 dihydroxy-Vitamin D level and low PTH due to
             granulomatous disease.
2005-2006    Clinical Research - University of Southern California – Utility of Thyroid
             Ultrasound in the Detection of Thyroid Cancer. Study involving the use of color
             flow/power doppler ultrasound and ultrasound guided biopsy to detect the
             recurrence of thyroid cancer in patients with total thyroidectomies.
2005         Certification - Certification in Diagnostic Thyroid Ultrasound and Biopsy –
             AACE 2005
2003         Certification - Understanding the Fundamentals: Responsibilities and
             Requirements for the Protection of Human Subjects in Research. University of
             Southern California. 29 Sep 2003 - 29 Sep 2006
2002-2005    Clinical Research - University of Southern California - Determining the Role of
             Magnesium in Osteoporosis. Study involved collecting and analyzing patient data
             related to patient characteristics, laboratory results, bone mineral density exams,
             nutrition analysis, and genetic analysis in order to determine a link between
             magnesium deficiency and osteoporosis.
1996         Research Assistant - San Jose State University - Role of the suprachiasmatic
             nucleus pacemaker in antelope ground squirrels.
1995-1996    Research Assistant - San Jose State University/NASA. Acoustic tolerance test
             and paste diet study for space shuttle rats.


                                        PERSONAL

Languages: Conversational Spanish, French
Tutor: Biochemistry, computer science, High School mentor
Computers: Ruby, Rails, Javascript, C++, C, Java, and HTML programming
